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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

RACHEL MEEKS,

      Plaintiff,

v.                                            Case No.: 8:21-cv-02878-CEH-MRM

ASSOCIATED INVESTIGATORS,
INC. and DAWN CASE,

      Defendants.
                                        /

                                        ORDER

      The parties filed a Joint Motion to Approve FLSA Settlement and Dismiss

With Prejudice. (Doc. 34). For the reasons below, the motion is DENIED

WITHOUT PREJUDICE.

                                LEGAL STANDARD

      To approve the settlement of FLSA claims, the Court must determine whether

the settlement is a “fair and reasonable [resolution] of a bona fide dispute” of the

claims raised. Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1355 (11th Cir.

1982); 29 U.S.C. § 216. There are two ways for a claim under the FLSA to be settled

or compromised. Lynn’s Food Stores, 679 F.2d at 1352-53. The first is under 29

U.S.C. § 216(c), providing for the Secretary of Labor to supervise the payments of

unpaid wages owed to employees. Lynn’s Food Stores, 679 F.2d at 1353. The second

is under 29 U.S.C. § 216(b) when an action is brought by employees against their

employer to recover back wages. Lynn’s Food Stores, 679 F.2d at 1353. When
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employees sue, the proposed settlement must be presented to the district court for the

district court’s review and determination that the settlement is fair and reasonable.

Id. at 1353-54.

        The Eleventh Circuit has found settlements to be permissible when employees

sue under the FLSA for back wages. Id. at 1354. The Eleventh Circuit held:

              [A lawsuit] provides some assurance of an adversarial
              context. The employees are likely to be represented by an
              attorney who can protect their rights under the statute.
              Thus, when the parties submit a settlement to the court for
              approval, the settlement is more likely to reflect a
              reasonable compromise of disputed issues than a mere
              waiver of statutory rights brought about by an employer’s
              overreaching. If a settlement in an employee FLSA suit
              does reflect a reasonable compromise over issues, such as
              FLSA coverage or computation of back wages, that are
              actually in dispute; we allow the district court to approve
              the settlement in order to promote the policy of encouraging
              settlement of litigation.

Id.

                                     ANALYSIS

        Upon preliminary review, the Court finds that the proposed settlement suffers

from several deficiencies that preclude a finding of fairness and reasonableness at this

time.

        1.    Settlement Agreement Not Executed: The version of the settlement

agreement the parties filed is not fully executed because it is not signed by any party.

(See Doc. 34-1 at 6). On this record, there is no showing that the parties are willing

to be bound by the settlement agreement. The parties must re-file a fully executed




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settlement agreement for the Court’s consideration, while also accounting for the

additional deficiencies mentioned below.

      2.     Monetary Terms: Although Plaintiff’s Complaint alleges that

Defendants failed to properly compensate Plaintiff for overtime hours per week, (see

Doc. 1 at 2-5), Plaintiff does not allege an amount of damages or a total amount of

overtime hours worked, (see id.). Likewise, the motion does not include any estimate

of the amount of damages or the total number of unpaid hours for overtime work.

(See Doc. 34). Instead, in the motion, the parties broadly note that the proposed

settlement agreement is “a reasonable compromise of disputed claims.” (Id. at 4 ¶ 9).

Nevertheless, the parties’ settlement is for a total of $30,000.00, including $10,000.00

“for alleged unpaid overtime compensation and back wages,” $10,000.00 “for

alleged liquidated damages and interest,” and $10,000.00 “for attorney’s fees and

costs.” (Doc. 34-1 at 2 ¶ 4(a)).

      Despite their agreement as to the amounts, neither the joint motion nor the

settlement agreement provides any meaningful discussion of the basis for Plaintiff’s

alleged damages or how the proposed settlement amounts relate to those damages.

(See id.). Put simply, the parties provided no “statement as to the number of hours

and amount of lost wages claimed by Plaintiff.” See Chavez v. BA Pizza, Inc., No.

2:18-cv-375-FtM-99MRM, 2018 WL 3151861, at *2 (M.D. Fla. June 12, 2018), report

and recommendation adopted, No. 2:18-cv-375-FtM-99MRM, 2018 WL 3135944 (M.D.

Fla. June 27, 2018). Without this information, the Court cannot evaluate whether




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the proposed monetary terms are a fair and reasonable resolution of the FLSA

dispute. See Schultz v. Wilson Lighting of Naples, Inc., No. 2:20-cv-400-FtM-38MRM,

2021 WL 467188, at *2 (M.D. Fla. Jan. 25, 2021), report and recommendation adopted,

No. 2:20-cv-400-SPC-MRM, 2021 WL 463815 (M.D. Fla. Feb. 9, 2021) (finding that

the Court cannot evaluate the monetary terms absent a statement of the amount of

damages the plaintiff alleged he was owed and a description of the review

undertaken to reach proposed amounts).

      Because the Court cannot determine the fairness and reasonableness of the

monetary terms, the motion is denied without prejudice. In any renewed motion,

the parties must provide enough information for the Court to evaluate the fairness

and reasonableness of the monetary terms.

      3.     Impermissible Amendment Provision: The proposed settlement

agreement contains an amendment provision that states: “No provision of this

Agreement may be amended or modified unless the amendment or modification is

agreed to in writing and signed by Plaintiff and by Defendants.” (Doc. 34-1 at 5 ¶

12). This Court has previously found that an amendment provision cannot be

approved because it “leaves ‘the parties free to circumvent Lynn’s Food [Stores] review

through post hoc modifications of an already-approved agreement.’” Dexheimer v.

Enjoy the City N., Inc., No. 6:18-cv-1980-Orl-76EJK, 2020 WL 5822195, at *3 (M.D.

Fla. Apr. 13, 2020) (quoting Dumas v. 1 Amble Realty, LLC, No. 6:17-cv-765-Orl-

37KRS, 2018 WL 5020134, at *3 (M.D. Fla. Mar. 9, 2018)). For this reason, the

Court cannot approve a settlement agreement “that is not in its final form” and has


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an “opportunity for amendment.” See id. at *3 (internal quotation and citation

omitted). The parties must remove this provision from their settlement agreement

before renewing their motion. In this regard, the Court has considered whether the

potentially problematic language could be severed from the agreement, but the

proposed settlement agreement does not contain a severability provision. (See Doc.

34-1).

         4.   Inconsistent Release Language: In one of the proposed settlement

agreement’s “RECITALS” provision, the parties assert that “[t]he purpose of this

Agreement is to settle and compromise any and all prior or existing disputes, claims,

and controversies between the Parties . . . and to bar any and all future disputes,

claims and controversies between the Parties.” (See Doc. 34-1 at 1 (emphasis

added)). At the end of the agreement, however, Plaintiff appears to waive only those

claims for unpaid wages and overtime. (See id. at 3 ¶ 7). In the “Plaintiff’s Release of

Defendant” provision, Plaintiff “completely releases and forever discharges the

Defendants from any and all claims for alleged unpaid wages and overtime asserted,

or which could have been asserted, in the Lawsuit, including, but not limited to, any

and all claims under the FLSA.” (Id. at 3-4 (emphasis in original)). Additionally,

the second to last paragraph of the agreement reads, in relevant part:

              THIS AGREEMENT CONTAINS A RELEASE OF
              ALL UNPAID WAGE AND OVERTIME CLAIMS
              AGAINST   DEFENDANT,    YOUR    FORMER
              EMPLOYER, INCLUDING CLAIMS UNDER THE
              FLSA AND APPLICABLE STATE AND MUNICIPAL
              WAGE AND OVERTIME LAWS.



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(Id. at 5 (emphasis in original)).

       Because of the inconsistent language used throughout the proposed settlement

agreement, the Court cannot discern whether the parties intend to release only

Plaintiff’s FLSA claims or have a general mutual release. The parties do not (1)

discuss or explain the inconsistency among the various release languages in the

proposed settlement agreement nor (2) explain why the Court should approve the

non-cash concession as fair and reasonable. The Court will require them to do so in

any renewed motion.

                                     CONCLUSION

       For these reasons, the Court ORDERS that:

       1.     The Joint Motion to Approve FLSA Settlement and Dismiss With

              Prejudice (Doc. 34) is DENIED WITHOUT PREJUDICE.

       2.     No later than December 13, 2022, the parties must either:

              a.     file a renewed motion that complies with Lynn’s Food Stores, Inc.

                     v. United States, 679 F.2d 1350, 1354-55 (11th Cir. 1982), its

                     progeny, and this Order; or

              b.     file a motion to reopen the case along with an appropriate Case

                     Management Report including proposed case management

                     deadlines and a proposed trial term.




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      DONE and ORDERED in Tampa, Florida on November 29, 2022.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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